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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF MISSISSIPPI

UNITED STATES OF AMERICA

VS.                                                                    NO.: 3:21-CR-107-NBB-RP

JAMARR SMITH, et al.

               MOTION FOR REDUCTION IN TERM OF IMPRISONMENT
                       and/or COMPASSIONATE RELEASE

        COMES NOW, the Defendant, Jamarr Smith (hereinafter “Smith”), by and through the

undersigned counsel, and files this Motion for Reduction in Term of Imprisonment and/or

Compassionate Release, and would state unto the Court as follows:

                                       I. INTRODUCTION

        Amendments to the United States Sentencing Guidelines (“USSG”) that go into effect

November 1, 2023 allow a defendant to move for a reduction in term of imprisonment or

compassionate release under certain enumerated circumstances. Though not in effect at this time,

the defendant is filing the instant motion now due to the urgent and necessitous nature of this

request. Furthermore, the defendant believes that the Court has inherent power to reduce a term

of imprisonment or grant compassionate release under the existing version of the guidelines even

though the precise basis for this motion is not listed in the current version. Therefore, this motion

is proper at this time.

        However, should the Court disagree, the defendant respectfully requests that the Court

withhold consideration of this motion until November 1, 2023 or thereafter.

                                         II. STANDARDS

        USSG § 1B1.13 (as currently worded), allows the Court to reduce a term of

imprisonment “[u]pon motion of the Director of the Bureau of Prisons under 18 USC §
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3582(c)(1)(a).” It then provides that the Court may reduce a sentence for “extraordinary and

compelling reasons.” USSG § 1B1.13 (1)(A).

       On November 1, 2023, amendments to USSG § 1B1.13 will go into effect. (Amended

USSG § 1B1.13, Exh. A). The amendment allows a defendant to seek relief under this guideline.

Amended USSG§ 1B1.13(a). The amendment also itemizes some of the extraordinary and

compelling reasons to grant compassionate release to include:

               (3)    FAMILY CIRCUMSTANCES OF THE DEFENDANT, -
                                           * * *
                      (C)  The incapacitation of the defendant’s parent when
                           the defendant would be the only available caregiver
                           for the parent.

Amended USSG § 1B1.13(b)(3)(C).

                                       III. DISCUSSION

       To the extent applicable and necessary, Smith has exhausted his administrative remedies

with the Bureau of Prisons. (Compassionate Release Denial, Exh. B).

       The Court will recall from the sentencing hearing in this case that Smith has

extraordinarily significant family responsibilities in that he had custody of two very small

children, Jamarri (age 6) and Majesty (age 3). The care of these children has in part fallen on

Smith’s mother (which has led to great hardship for her) and the children’s mother. He was also

taking care of his father, Cedric Albritton, who has severe health problems and was unable to

care for himself. See medical records attached hereto as Exhibit C.

       The records attached as Exhibit C are excerpts of 571 pages of records from BMH-

Oxford concerning an extended hospitalization of Albritton from February 28, 2023 through

March 10, 2023. As the Court can see from the Admission History (p. 10), Albritton was

admitted with altered mental status, a history of dementia, a history of strokes and subdural
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hemorrhages and a left-sided craniotomy (the left side of his skull had been removed). On

examination, he was noted to be oriented to person, but not place or time. (p. 12.) At discharge,

after a ten day stay, he was diagnosed with an intra-cranial hemorrhage (stroke). (p. 7.) The

record states that Albritton was not eligible for placement in a nursing home or rehab center due

to his lack of insurance; therefore he was released into the custody of his son (Jarikk Smith) for

care “24/7.” As stated in the Presentence Investigation Report and further testified to by their

mother, Jackie Smith, at the sentencing hearing, Jarikk Smith is at this time no longer able to

care for Albritton due to his need to return to his job in the Atlanta area. Jamarr Smith is the only

family member able to care for Mr. Albritton at this time.

        The Court should also consider that Smith is a very low risk for engaging in criminal

activity if he is released. Smith’s only counted criminal history is a simple assault conviction for

one criminal history point. All of his issues with domestic violence and simple assault arise from

a troubled relationship with the mother of his youngest children, Iantea Lee, where they would

squabble, which led to them filing charges on each other. Thus, though Smith cannot do better

than a Criminal History Category of I, it should be noted that his single criminal history point

probably overstates the seriousness of his criminal history to some extent. He has no drug

convictions at all. In short, this is the most serious crime for which Smith has been charged and

convicted in his life. Therefore, the likelihood of further criminal activity by Smith is extremely

low.

        The Court should also consider that Smith had no issues while out on bond, and

demonstrated a clear willingness and ability to comply with terms of supervision imposed by the

Probation Service.

        Finally, the Court should consider whatever conditions of supervision it deems necessary,
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including home confinement, etc.

       WHEREFORE, PREMISES CONSIDERED, Smith respectfully requests that the Court

grant an immediate reduction in his sentence and/or compassionate release. The defendant

requests any further relief that the Court may find warranted in the premises.

                                             RESPECTFULLY SUBMITTED,

                                             JAMARR SMITH

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                                        BY: /s/ Goodloe T. Lewis                 _
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                                 CERTIFICATE OF SERVICE

       I, GOODLOE T. LEWIS, attorney for JAMARR SMITH, do hereby certify that I have on

this date electronically filed the foregoing document with the Clerk of Court using the ECF

system which sent notification of such filing to all counsel of record, including:

Robert Mims
Office of the US Attorney
900 Jefferson Avenue
Oxford, MS 38655
rmims@usadoj.gov


       DATED: September 19, 2023.



                                                      /s/ Goodloe T. Lewis           _
                                                      GOODLOE T. LEWIS


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